       Case 2:17-cr-00187-KJM Document 50 Filed 05/02/18 Page 1 of 2


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5                         UNITED STATES DISTRICT COURT

6                        EASTERN DISTRICT OF CALIFORNIA

7

8    UNITED STATES OF AMERICA,            No. 2:17-cr-00187-GEB
9                  Plaintiff,
10        v.
11   KARI SCATTAGALIA, ET AL.,
12                 Defendant.
13
     UNITED STATES OF AMERICA,            No. 2:17-cr-00200-GEB
14
                   Plaintiff,
15
          v.
16
     AARON GILLIAM,
17
                   Defendant.
18

19   UNITED STATES OF AMERICA,
                                          No. 2:18-cr-00089-JAM
20                 Plaintiff,
21        v.
                                          RELATED CASE ORDER
22   DAMANPREET SING,
23                Defendant.
24

25              On May 1, 2018, the United States of America filed a
26   “Notice of Related Cases” concerning the above captioned cases.
27   ECF No. 3.     The cases are related within the meaning of Local
28
                                          1
       Case 2:17-cr-00187-KJM Document 50 Filed 05/02/18 Page 2 of 2


1    Rule 123 (E.D. Cal. 2005).          Under the regular practice of this

2    court, related cases are generally assigned to the judge to whom

3    the first filed action was assigned.             Therefore, case number

4    2:18-cr-00089-JAM is reassigned to the undersigned judge for all

5    further proceedings, and the caption on the reassigned case shall

6    show the initials “GEB.”      Further, any date currently set in the

7    reassigned case is VACATED.

8               The   Clerk   of   the   Court   shall   make   an     appropriate

9    adjustment in the assignment of criminal cases to compensate for

10   this reassignment.

11              Dated:    May 1, 2018

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